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uNlTED sTATEs oisTRicT couRT
wEsTERN pisTRicT oF TENNEssEE 7 also By jj ., Dr.
MEMPHis DivisioN ' - "'“"*

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UN|TED STATES OF AMER|CA

-v- 2:04CR20425-01-B CLE’,R U,§_1 g§j§;§m' CGUT
W/D OF~` iii i,i&?»il)l>fi$

RAMON RAZO

Stephen R. Leffler. CJA
Defense Attorney

707 Adams Avenue
Memphis, TN 38105

 

JUDGN|ENT lN A CR|MINAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 ofthe indictment on !Vlarch 30, 2005. According|y,
the court has adjudicated that the defendant is guilty of the following offenses:

Date Count
Title & Section _N_§Wr_eof___®ffens£ Offense Numberlsl
C_Oer-;c_t
21 U.S.C. § 846 Conspiracy to Possess with intent to 09/16/2004 1

Distribute Controlled Substance

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the l\/|andatory
Victims Restitution Act of 1996

Counts 2 is dismissed on the motion of the United States.

|T lS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 9/18/1982 June 30, 2005
Deft's U.S. Marsha| No.: 19876-076

Defendant’s Nlailing Address:
West Tennessee Detention Facility
6299 Finde Naifeh Jr. Drive
lVlason, TN 38049

J. oANiEi_ BREEN
u TED sTATEs oisTRicT JuDoE

This document entered on the docket sheet in compile ce JU:Y__(G ,2005
with Huie 55 andrch 32(b) Fncii= un d "]* 0

 

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Case No: 2:04CR20425-01-B Defendant Name: Rarnon RAZO Page 2 of4
|MPRlSONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 87 Months.

The Court recommends to the Bureau of Prisons:

- Placement as close to the state of Washington or Oregon, as possible
- The 500 Drug Program.

The defendant is remanded to the custody of the United States l\/larshal.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , With a certified copy of this
judgment
UN|TED STATES lVlARSHAL
By:

 

Deputy U.S. l\/|arshal

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Case No: 2:04CR20425-01-B Defendant Name: Ramon RAZO Page 3 of4

SUPERV|SED RELEASE

Upon release from imprisonment1 the defendant shall be on supervised release for
a term of 5 years

The defendant shall report to the probation office in the district to Which the
defendant is released Within 72 hours of release from custody of the Bureau of Prisons.

While on supervised reiease, the defendant shall not commit another federai, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD CONDITIONS OF SUPERV|S|ON

1. The defendant shall not leave thejudiciai district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the Hrst five days of each month;

3. The defendant shall answer truthful ali inquiries by the probation officer and foiiow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase possess, use,

distribute, or administerany narcotic or other controlled substance or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally so|d, used,
distributed, or administered; The defendant shall not associate with any persons engaged in criminal
activity, and shall not associate with any person convicted of a felony unless granted permission to do
so by the probation officer;

8. The defendant shall permit a probation officer to visit him or her at any time at horne or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

9. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

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Case No: 2:04CR20425-01-B Defendant Name: Ramon RAZO Page 4 of4

10. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

11. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to conhrm the defendants compliance with such
notification requirement

12. lt thisjudgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedu|e of Payments set
forth in the Crimina| lVionetary Pena|ties sheet of this judgment

ADD|T|ONAL COND|TIONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. Participate in substance abuse testing and treatment programs as directed by the Probation
Officer.

2. Cooperate with DNA collection as directed by the Probation Officer.

CR|MINAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgmentl pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedu|e of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution
$100.00
The Specia| Assessment shall be due immediateiy.

FlNE
No fine imposed.

RESTITUT|ON
No Restitution was ordered

UNITED S`TATED"ISIC COURT -WE TER DSRTCT oFTENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 71 in
case 2:04-CR-20425 Was distributed by faX, mail, or direct printing on
July 7, 2005 to the parties listed.

 

 

Stephen R. Leftier
LEFFLER LAW OFFICE
707 Adams Ave.
i\/lemphis7 TN 38105

Scott F. Leary

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

